     Case 4:16-cv-00511-MW-CAS Document 205 Filed 11/17/21 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION
REIYN KEOHANE

      VS                                                 CASE NO. 4:16cv511-MW/CAS

JULIE JONES, in her official capacity as
Secretary of the Florida Department

                                      JUDGMENT

      Defendant is entitled to judgment against Plaintiff in the amount of $13,356.43 in

costs, for which sum let execution rest.

                                           JESSICA J. LYUBLANOVITS
                                           CLERK OF COURT


November 17, 2021
DATE                                       Deputy Clerk: Taylor McGill
